    Case 1:20-cv-02405-EGS Document 53-1 Filed 10/31/20 Page 1 of 1



1. Colorado/Wyoming – service in this district was impacted by recent ice and snow
   storms. Further, service in this district is impacted by COVID-19 and employee
   unavailability. Employees from other facilities are being moved to the processing plant to
   mitigate this problem. Overtime is being maximized. The Postal Service is also hiring
   new employees.

2. Greater Indiana – service scores in this district do not include ballots that are turned
   around in local delivery units, which are delivered the same day.

3. Oklahoma – service in this district was impacted by recent ice and snow storms.

4. N. New England -- service scores in this district do not include ballots that are turned
   around in local delivery units, which are delivered the same day.

5. Kentuckiana – service scores in this district do not include ballots that are turned around
   in local delivery units, which are delivered the same day.

6. Central Pennsylvania – service in this district is impacted by COVID-19 and employee
   unavailability. Employees from other facilities are being moved to the processing plant to
   mitigate this problem. Overtime is being maximized. The Postal Service is also hiring
   new employees.

7. Detroit – service in this district is impacted by COVID-19 and employee unavailability.
   Employees from other facilities are being moved to the processing plant to mitigate this
   problem. Overtime is being maximized. The Postal Service is also hiring new
   employees.

8. Mid-Carolinas – service scores in this district do not include ballots that are turned
   around in local delivery units, which are delivered the same day.

9. Greensboro – service scores in this district do not include ballots that are turned around
   in local delivery units, which are delivered the same day.

10. Greater S. Carolina – service scores in this district do not include ballots that are turned
    around in local delivery units, which are delivered the same day.

11. Greater Michigan – service in this district is impacted by COVID-19 and employee
    unavailability. Employees from other facilities are being moved to the processing plant to
    mitigate this problem. Overtime is being maximized. The Postal Service is also hiring
    new employees.
